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11
                                 UNITED STATES DISTRICT COURT
12
                             NORTHERN DISTRICT OF CALIFORNIA
13

14   ZHUOER CHEN, an individual; MENGCHENG                 Case No. 4:25-cv-03292-JSW
     YU, an individual; JIARONG OUYANG, an
15   individual; and GEXI GUO, an individual;
                                                           [PROPOSED] ORDER PERMITTING
16                 Plaintiffs,                             REMOTE APPEARANCE
                                                           AS MODIFIED
17   vs.                                                   Judge: Honorable Jeffrey S. White
                                                           Date: May 13, 2025
18   KRISTI NOEM, in her official capacity as              Time: 9:00 AM
     Secretary of the U.S. Department of Homeland          Courtroom: 5
19   Security; and TODD LYONS, in his official
     capacity as Acting Director of U.S. Immigration
20   and Customs Enforcement;

21                 Defendants.

22          This Court, based on good cause, will permit Plaintiffs' attorney Justin Sadowsky to appear

23   via videoconference at the May 13th hearing.

24          The Court finds good cause for this appearance. Mr. Sadowsky lives in the Washington


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 1   DC area, where he is the Legal Director of a non-profit with limited resources. Although Mr.

 2   Sadowsky is presenting argument on behalf of the Chen plaintiffs, he will be one of several

 3   attorneys presenting. At the TRO hearing, some attorneys on behalf of the various plaintiffs

 4   appeared in person and others remotely in a manner that was effective in assisting the Court. As a

 5   result, Mr. Sadowsky’s appearance by videoconference at the May 13th videoconference is

 6   appropriate.

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 8   IT IS SO ORDERED.

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10   Issued this ____
                 1st day of ________________________,
                              May                     2025.

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12                                                        ___________________________________
                                                           United States District Judge
13                                                        Jeffrey S. White

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                                                    2-      CASE NO. 4:25-cv-03292-JSW
                         [PROPOSED] ORDER PERMITTING REMOTE APPEARANCE
